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 8                                UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA

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11
      UNITED STATES OF AMERICA,                         CASE NO. 1:13-CR-00392 LJO-SKO
12

13                             Plaintiff,               ORDER DENYING DEFENDANT’S
                                                        MOTION FOR DOCUMENTS
14           v.

15    BALTAZAR CASTENADA GARCIA,                        (ECF No. 183)

16
                               Defendant.
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20          On October 23, 2017 Defendant Baltazar Castenada Garcia (“Defendant”) requested that the

21   Court provide him with a copies of (1) sentencing transcripts; (2) court’s docket sheets; and (3) plea

22   agreement. ECF No. 183. To the extent that Defendant is requesting free copies of materials from

23   his case file that request has previously been denied. ECF No. 172.

24          The Court previously denied Defendant’s request for free copies of such documents because

25   his request was and still is not within the purview of 28 U.S.C. § 753(f). ECF No. 172 at 5-7. As

26   stated in detail in the prior Order, Defendant is not entitled under 28 U.S.C. § 753(f) to have costs

27   for creating or copying such transcripts or other documents paid by the United States because he

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          Case 1:13-cr-00392-LJO-SKO Document 184 Filed 11/06/17 Page 2 of 2



 1   has not filed a habeas petition under 28 U.S.C. §2255.1 In the absence of Defendant actually filing a

 2   § 2255 motion, the Court cannot determine whether that motion is frivolous, as required by

 3   § 753(f). See United States v. Connors, 904 F.2d 535, 536 (9th Cir. 1990) (“Although Connors is

 4   indigent, he has not filed a habeas petition, and therefore is not entitled to copies of his trial

 5   transcript at government expense until he does so.”); see also United States v. Lucatero, No. CR. S-

 6   05-0443 WBS, 2007 WL 1747077, at *1 (E.D. Cal. June 18, 2007) (“The vast majority of courts

 7   have interpreted [28 U.S.C. § 753(f)] to mean that until a prisoner actually ‘brings a proceeding

 8   under section 2255,’ he is not entitled under § 753(f) to have costs for creating or copying such

 9   transcripts or other documents paid by the United States.”).

10              Because the Court is without authority to order the Clerk of the Court to provide Defendant

11   with free copies of the requested documents, the Court again DENIES Defendant’s motion.

12              IT IS ORDERED that Defendant’s motion for documents (ECF No. 183) is DENIED.

13              The Court orders the Clerk of the Court to calculate the number of pages that are required

14   to send Defendant the docket sheet and his plea agreement and to send Defendant a bill for the

15   total cost. Plaintiff is also free to contact the court reporter who reported his sentencing hearing on

16   December 14, 2015 at 559-266-3789 or peggycrawford@gmail.com to determine how much

17   production of that transcript would cost.

18   IT IS SO ORDERED.
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            Dated:      November 3, 2017                               /s/ Lawrence J. O’Neill _____
20                                                           UNITED STATES CHIEF DISTRICT JUDGE
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26       28 U.S.C. § 2255(a) provides as follows:
                A prisoner in custody under sentence of a court established by Act of Congress claiming the right to be released
                upon the ground that the sentence was imposed in violation of the Constitution or laws of the United States, or
27              that the court was without jurisdiction to impose such sentence, or that the sentence was in excess of the
                maximum authorized by law, or is otherwise subject to collateral attack, may move the court which imposed the
28              sentence to vacate, set aside or correct the sentence.

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